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                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION




 A.M., an individual,                                Case No. 3:21-cv-01674-MO

                        Plaintiff,
                                                     STIPULATED PROTECTIVE ORDER
 V.
 OMEGLE.COM LLC,

                        Defendant.



                     INTRODUCTION AND STATEMENT OF GOOD CAUSE

       One or more of the parties has requested the production of documents or information that

at least one party considers to be or to contain confidential and/or proprietary information, and

that are subject to protection under Federal Rule of Civil Procedure 26(c). The parties agree that

good cause exists to protect the confidential nature of the information contained in documents,

interrogatory responses, responses to requests for admission, or deposition testimony.

       This action concerns allegations of a sexual nature involving someone who was a minor

at the time of the conduct at issue. This action also currently concerns advertising and revenue

information of a sensitive and proprietary nature. The parties thus expect to exchange documents

and information relating to plaintiffs health information; defendant's proprietary and

confidential business or financial information; information regarding development of the Omegle

chat service and code; and information related to ongoing law enforcement investigations. These

documents may also include information potentially implicating privacy rights of third parties or

information otherwise generally unavailable to the public, or which may be privileged or


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otherwise protected from disclosure under state or federal statutes, court rules, case decisions, or

common law. The parties agree that the entry of this Stipulated Protective Order ("Protective

Order") is warranted to protect against disclosure of such documents and information. Based

upon the above stipulation of the parties, and the Court being duly advised, IT IS HEREBY

ORDERED as follows:

        1. All documents, testimony, and other materials produced by the parties in this case and

labeled "Confidential" or "Attorneys' Eyes Only" shall be used only in this proceeding. For

purposes of this Protective Order, the following definitions of "Confidential" and "Attorneys'

Eyes Only" shall apply:

               A.      "Confidential" information or documents is defined as information

(regardless of how it is generated, stored, or maintained) or tangible things that qualify for

protection under Federal Rule of Civil Procedure 26( c) and Local Rule 26-4, and as specified

above in the Introduction and Statement of Good Cause.

               B.      "Attorneys' Eyes Only" is defined as information (regardless of how it is

generated, stored, or maintained) or tangible things that qualify for protection under Federal Rule

of Civil Procedure 26(c) and Local Rule 26-4, and as specified above in the Introduction and

Statement of Good Cause , and that the party designating the information or tangible things as

"Attorneys' Eyes Only" believes will severely prejudice or injure the producing party's business

or result in a competitive advantage or disadvantage if disclosed in this action.

       2. Use of any information or documents labeled "Confidential" or "Attorneys' Eyes Only"

and subject to this Protective Order, including all information copied, extracted, excerpted or

derived therefrom, shall be restricted solely to the litigation of this case and shall not be used by

any party or their counsel for any business, commercial, advertising, or competitive purpose, or

for the investigation or prosecution of any other action, demand, or legal proceeding. This

includes postings on the Internet or social media. This Protective Order, however, does not

restrict the disclosure or use of any information or documents lawfully obtained by the receiving

party through means or sources outside of this litigation. Should a dispute arise as to any specific


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information or document, the burden shall be on the party claiming that such information or

document was lawfully obtained through means and sources outside of this litigation.

       3. The parties, and third parties subpoenaed by one of the parties, may designate as

"Confidential" or "Attorneys' Eyes Only" documents, testimony, written responses, or other

materials produced in this case if they contain information that the producing party has a good

faith basis for asserting is confidential under the applicable legal standards. Where practical, the

producing party shall designate each page of the document with a stamp identifying it as

"Confidential" or "Attorneys' Eyes Only," if practical to do so.

       4. If portions of documents or other materials deemed "Confidential" or "Attorneys' Eyes

Only" or any papers containing or making reference to such materials are filed with the Court,

they shall be filed under seal, as set forth in Local Rule 5-1 (e) and Local Rule 26-4(c ), and

marked as follows or in substantially similar form:

       CONFIDENTIAL IN ACCORDANCE WITH A PROTECTIVE ORDER, THE
       ENCLOSURE(S) SHALL BE TREATED AS CONFIDENTIAL AND SHALL NOT BE
       SHOWN TO ANY PERSON OTHER THAN THOSE PERSONS DESIGNATED IN
       PARA GRAPH 7 OF THE PROTECTIVE ORDER.

        Or

       ATTORNEYS' EYES ONLY IN ACCORDANCE WITH A PROTECTIVE ORDER,
       THE ENCLOSURE(S) SHALL BE TREATED AS FOR ATTORNEYS' EYES ONLY
       AND SHALL NOT BE SHOWN TO ANY PERSON OTHER THAN THOSE
       PERSONS DESIGNATED IN PARAGRAPH 8 OF THE PROTECTIVE ORDER.


If a party is filing a document that it has itself been designated as "Confidential" or "Attorneys'

Eyes Only," that party shall reference this Stipulated Protective Order in submitting the

documents it proposes to maintain under seal. If a non-designating party is filing a document that

another party has designated as "Confidential" or "Attorneys' Eyes Only," then the non-

designating party shall file the document under seal. If the non-designating party makes. a request

in writing to have the document unsealed and designating party does not file, within ten calendar

days, a motion that shows good cause to maintain the document under seal, then the Court shall



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unseal the document. Before seeking to maintain the protection of documents filed with the

Court, a party must assess whether redaction is a viable alternative to complete nondisclosure.

          5. Within thirty (30) days after receipt of the final transcript of the deposition of any party

or witness in this case, a party or the witness may designate as "Confidential" or "Attorneys'

Eyes Only" any portion of the transcript that the party or witness contends discloses confidential

information. If a transcript containing any such material is filed with the Court, it shall be filed

under seal and marked in the manner described in paragraph 4. Unless otherwise agreed, all

deposition transcripts shall be treated as "Confidential" until the expiration of the thirty-day

period.

          6. "Confidential" or "Attorneys' Eyes Only" information and documents subject to this

Protective Order shall not be filed with the Court or included or quoted in whole or in part in

pleadings, motions, briefs, etc., filed in this case, except when any portion(s) of such pleadings,

motions, briefs, etc. have been filed under seal by counsel and marked in the same manner as

described in paragraph 4 above. Such sealed portion(s) of pleadings, motions, briefs, documents,

etc., shall be opened only by the Court or by personnel authorized to do so by the Court.

          7. Use of any information, documents, or portions of documents marked "Confidential,"

including all information derived therefrom, shall be restricted solely to the following persons,

who agree to be bound by the terms of this Protective Order, unless additional persons are

stipulated by counsel or authorized by the Court:

                 a. Counsel for the parties and the administrative staff for counsel.

                 b. Any party to this action who is an individual, and every employee, director,
                 officer, or manager of any party to this action who is not an individual, but only to
                 the extent necessary to further the interest of the parties in this litigation.

                 c. Independent consultants or expert witnesses (including partners, associates and
                 employees of the firm which employs such consultant or expert) retained by a
                 party or its attorneys for purposes of this litigation, but only to the extent
                 necessary to further the interest of the parties in this litigation.




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               d. The Court and its personnel, including, but not limited to, stenographic
               reporters regularly employed by the Court and stenographic reporters not
               regularly employed by the Court who are engaged by the Court or the parties
               during the litigation of this action,

               e. The authors and the original recipients of the documents.

               f. Any court reporter or videographer reporting a deposition.

               g. Employees of copy services, microfilming or database services, trial support
               firms, firms providing services involving organizing, storing, or retrieving data in
               any form or medium, and/or translators who are engaged by the parties during the
               litigation of this action.

               h. A party or third party that produces documents, testimony, written responses, or
               other materials produced in this case.

               i. A mediator or other third-party neutral agreed upon by the parties.

               j. Deponents, witnesses, and their counsel.


       8. Use of any information, documents, or portions of documents marked "Attorneys' Eyes

Only," including all information derived therefrom, shall be restricted solely to the persons listed

in paragraphs 7(a), 7 (c), 7(d), 7(f), 7(g), and 7G) unless additional persons are stipulated by

counsel or authorized by the Court.

       9. Prior to being shown any documents produced by another party marked "Confidential"

or "Attorneys' Eyes Only," any person listed under paragraph 7(b), 7(c), 7(h), or 7G) shall agree

to be bound by the terms of this Order by signing the agreement attached as Exhibit A.

       10. Whenever information designated as "Confidential" or "Attorneys' Eyes Only"

pursuant to this Protective Order is to be discussed by a party or disclosed in a deposition,

hearing, or pre-trial proceeding, the designating party may exclude from the room any person,

other than persons designated in paragraphs 7 and 8, as appropriate, for that portion of the

deposition, hearing or pre-trial proceeding.

       11. Each party reserves the right to dispute the confidential status claimed by any other

party or subpoenaed party in accordance with this Protective Order. If a party believes that any




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documents or materials have been inappropriately designated by another party or subpoenaed

party, that party shall confer with counsel for the designating party. As part of that conferral, the

designating party must assess whether redaction is a viable alternative to complete non-

disclosure. If the parties are unable to resolve the matter informally, a party may file an

appropriate motion before the Court requesting that the Court determine whether the Protective

Order covers the document in dispute. Regardless of which party files the motion, the party

seeking to protect a document from disclosure bears the burden of establishing good cause for

why the document should not be disclosed. A party who disagrees with another party's

designation must nevertheless abide by that designation until the matter is resolved by agreement

of the parties or by order of the Court.

        12. The inadvertent failure to designate a document, testimony, or other material as

"Confidential" or "Attorneys' Eyes Only" prior to disclosure shall not operate as a waiver of the

party's right to later designate the document, testimony, or other material as "Confidential" or

"Attorneys' Eyes Only." The receiving party or its counsel shall not disclose such documents or

materials if that party or counsel knows or reasonably should know that a claim of confidentiality

would be made by the producing party. Promptly after receiving notice from the producing party

of a claim of confidentiality, the receiving party or its counsel shall inform the producing party

of all pertinent facts relating to the prior disclosure of the newly-designated documents or

materials, and shall make reasonable efforts to retrieve such documents and materials and to

prevent further disclosure. When a producing party gives notice to a receiving party that certain

inadvertently produce material is subject to a claim of privilege or other production, the

obligations of the receiving parties are those set forth in Federal Rule of Civil Procedure

26(b)(5)(B). Pursuant to Federal Rules of Evidence 502(d) and (e), insofar as the parties reach an

agreement on the effect of disclosure of a communication or information covered by the

attorney-client privilege or work product protection, the parties may incorporate their agreement

in this stipulated protective order.




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       13. Designation by either party of information or documents as "Confidential" or

"Attorneys' Eyes Only," or failure to so designate, will not be constitute an admission that

information or documents are or are not confidential, proprietary or trade secrets. Neither party

may introduce into evidence in any proceeding between the parties, other than a motion to

determine whether the Protective Order covers the information or documents in dispute, the fact

that the other party designated or failed to designate information or documents as "Confidential"

or "Attorneys' Eyes Only."

       14. If a party is served with a subpoena or a court order issued in other litigation or legal

proceeding that compels disclosure of any documents or information designated in this litigation

as "Confidential" or "Attorneys' Eyes Only," that party must:

               a. promptly notify the producing party in writing. Such written notification shall
               include a copy of the subpoena or court order;

               b. promptly notify in writing the party who caused the subpoena or order to issue
               in the other litigation or legal proceeding that some or all of the material covered
               by the subpoena or order is subject to this Protective Order. Such notification
               shall include a copy of this Protective Order; and

               c. cooperate with respect to all reasonable procedures sought to be pursued by the
               producing party whose "Confidential" or "Attorneys' Eyes Only" documents or
               information may be affected.
       If the producing party timely seeks a protective order, the party served with the subpoena

or court order shall not produce any documents or information designated in this litigation as

"Confidential" or "Attorneys' Eyes Only" before a determination by the court from which the

subpoena or order issued, unless the party has obtained the producing party's permission. The

producing party shall bear the burden and expense of seeking protection in that court of its

confidential material and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this litigation to disobey a lawful directive from another court.

       14. Upon the request of the producing party or third party, within 30 days after the entry

of a final judgment no longer subject to appeal on the merits of this case, or the execution of any

agreement between the parties to resolve amicably and settle this case, the parties and any person


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authorized by this Protective Order to receive confidential information shall return to the

producing party or third party, or destroy, all information and documents, including

electronically stored information, subject to this Protective Order. Returned materials shall be

delivered in sealed envelopes marked "Confidential" to respective counsel. The party requesting

the return of materials shall pay the reasonable costs of responding to its request.

Notwithstanding the foregoing, counsel for a party may retain archival copies of confidential

documents.

        15. This Protective Order shall not constitute a waiver of any party's or nonparty's right to

oppose any discovery request or object to the admissibility of any document, testimony or other

information.

        16. Nothing in this Protective Order shall prejudice any party from seeking amendments

to expand or restrict the rights of access to and use of confidential information, or other

modifications, subject to order by the Court.

        17. In the event a Party or counsel comes across material that is illegal to possess or

transmit, under no circumstances shall that party/counsel transmit said material to opposing

counsel. However, a detailed record describing said material must be turned over and the

possessing party must seek the Court's involvement for how to move forward.

        18. The restrictions on disclosure and use of confidential information shall survive the

conclusion of this action and this Court shall retain jurisdiction of this action after its conclusion

for the purpose of enforcing the terms of this Protective Order.




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       So stipulated:


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                                                ORDER

        The Court has reviewed the reasons offered in support of entry of this Stipulated

Protective Order and finds that there is good cause to protect the confidential nature of certain

information. Accordingly, the Court adopts the above Stipulated Protective Order in this action.

It is further ordered that pursuant to FED. R. Evrn. 502(d), the production of any documents in

this litigation shall not, for purposes of this litigation or any other federal, state, or regulatory

proceeding, constitute a waiver by the producing party of any privilege applicable to those

documents, including the attorney-client privilege, attorney work-product protection, or any

other privilege or protection recognized by law.




        IT IS SO ORDERED.

        DATED:      ¥771




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